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19    Counsel for Defendant Google LLC

20                              UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF CALIFORNIA
21                                   OAKLAND DIVISION
22    PATRICK CALHOUN, et al., on behalf of           Case No. 4:20-cv-5146-YGR-SVK
      themselves and all others similarly situated,
23                                                    DECLARATION OF JONATHAN TSE IN
24           Plaintiffs,                              SUPPORT OF JOINT STIPULATION
                                                      AND [PROPOSED] ORDER
25           v.                                       EXTENDING TIME FOR SUBMITTING
                                                      [PROPOSED] REDACTIONS TO
26    GOOGLE LLC,                                     TRANSCRIPT OF MARCH 17, 2022
                                                      HEARING
27
             Defendant.
28                                                    Judge: Honorable Susan van Keulen

                                                                     Case No. 4:20-cv-5146-YGR-SVK
                                TSE DECLARATION ISO JOINT STIPULATION TO EXTEND TIME TO SUBMIT
                                    [PROPOSED] REDACTIONS TO MARCH 17, 2022 HEARING TRANSCRIPT
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 1          I, Jonathan Tse, declare as follows:
 2          1.     I am a member of the bar of the State of California and an attorney with Quinn
 3 Emanuel Urquhart & Sullivan, LLP, attorneys for Defendant Google LLC (“Google”) in this action.

 4 I make this declaration of my own personal, firsthand knowledge, and if called and sworn as a

 5 witness, I could and would testify competently thereto.

 6          2.     Pursuant to Civil Local Rule 6-2, I submit this declaration in support of the Joint
 7 Stipulation and [Proposed] Order Extending Time For Submitting [Proposed] Redactions to

 8 Transcript of March 17, 2022 Hearing. (“Stipulation”).

 9          3.     On March 16, 2022, Google filed its Administrative Motion to Seal the Courtroom
10 for the March 17, 2022 Discovery Hearing, which was filed as Dkt. No. 490 in Brown et al v.

11 Google LLC, 4:20-cv-03664.

12          4.     On March 16, 2022, the Court granted Google’s Administrative Motion to Seal the
13 Courtroom for the March 17, 2022 Discovery Hearing (Dkt. 569).

14          5.     The Parties received the March 17, 2022 Discovery Hearing Transcript (the “Hearing
15 Transcript”) on March 22, 2022.

16          6.     On March 30, 2022, the Court set the deadline for the redacted Hearing Transcript
17 for May 2, 2022. (Dkt. 596).

18          7.     On May 2, 2022, the Parties stipulated to extend the deadline by which the Parties
19 shall submit proposed redactions to the Hearing Transcript, to May 9, 2022

20          8.     The Court has previously modified the case schedule by extending deadlines with
21 the following orders: the December 3, 2020 Case Management Order (Dkt. 83); the August 19, 2021

22 Case Management Order (Dkt. 279); the January 11, 2022 Case Management Order (Dkt. 464);

23 order granting the parties’ stipulation to extend time to answer the complaint (Dkt. 40); orders

24 granting the parties’ stipulation to propose redactions to the April 29, 2021 Hearing Transcript (Dkt.

25 191) and June 2, 2021 Hearing Transcript (Dkt. 267); order granting Google’s Motion for Extension

26 of Time to File Motion for Protective Order (Dkt. 333); order granting the parties’ stipulation to
27 extend time for Google to submit declaration in support of Plaintiffs’ motion to seal (Dkts. 344,

28 470); order granting Plaintiffs’ unopposed motion to enlarge time for non-party subpoena (Dkt.
                                                  1                 Case No. 4:20-cv-5146-YGR-SVK
                               TSE DECLARATION ISO JOINT STIPULATION TO EXTEND TIME TO SUBMIT
                                   [PROPOSED] REDACTIONS TO MARCH 17, 2022 HEARING TRANSCRIPT
     Case 4:20-cv-05146-YGR          Document 644-1         Filed 05/02/22       Page 3 of 3




 1 391); the parties’ stipulation to enlarge time for briefing on Google’s Motion for Summary Judgment

 2 (Dkt. 411); order continuing several motion deadlines and class certification hearing (Dkt. 479);

 3 order granting stipulation requesting additional time to file joint update regarding Discovery Dispute

 4 2.17 (Dkt. 539); order granting joint stipulation to extend deadline for Discovery Dispute 1.11(Dkt.

 5 587); and order granting joint stipulation extending case schedule (Dkt. 625).

 6          9.     The 7-day extension will not affect the schedule in this case.

 7          I declare under penalty of perjury of the laws of the United States that the foregoing is true

 8 and correct. Executed in San Francisco, California on May 2, 2022.

 9

10 DATED: May 2, 2022                           QUINN EMANUEL URQUHART &
                                                SULLIVAN, LLP
11
                                                  By          /s/ Jonathan Tse
12
                                                       Jonathan Tse
13
                                                       Attorney for Defendant
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                                                  2                  Case No. 4:20-cv-5146-YGR-SVK
                                TSE DECLARATION ISO JOINT STIPULATION TO EXTEND TIME TO SUBMIT
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